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Right Turn Opinion

Trump’s Putin problem returns in a big way




By Jennifer Rubin




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While it remains improbable that anything found on Anthony Weiner’s computer will change the FBI director’s July
conclusion that Hillary Clinton lacked requisite intent for criminal prosecution with regard to her home email
server, it becomes more probable each day that Donald Trump and/or those around him have some highly peculiar
connections to Russia that would pose a danger to the United States.

NBC reports:

The FBI has been conducting a preliminary inquiry into Donald Trump’s former campaign manager Paul Manafort’s
foreign business connections, law enforcement and intelligence sources told NBC News Monday.

Word of the inquiry, which has not blossomed into a full-blown criminal investigation, comes just days after FBI
Director James Comey’s disclosure that his agency is examining a new batch of emails connected to an aide to
Hillary Clinton. …

NBC News reported in August that Manafort was a key player in multi-million-dollar business propositions with
Russian and Ukrainian oligarchs — one of them a close [Vladimir] Putin ally with alleged ties to organized crime —
which foreign policy experts said raised questions about the pro-Russian bent of the Trump candidacy.

We don’t know what, if anything, the FBI will find, whether Manafort violated any U.S. laws in his work with
Russia’s Ukrainian puppet and whether his alleged connections influenced his boss. But we do know that Trump has
mouthed every Kremlin position (e.g. denying that Russia had invaded Ukraine, pretending that hacks of his
political opponents had not been linked to Russia, questioning the resolve of NATO). He also has surrounded
himself with pro-Russian advisers and surrogates. In other words, we know his judgment is compromised; we just
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don’t know how or why, in part because he still refuses to turn over his tax returns that might show a Russian
connection.

Separately, Franklin Foer at Slate reports that a Russian bank had a server connection with a Trump server in New
York. “The irregular pattern of server lookups actually resembled the pattern of human conversation —
conversations that began during office hours in New York and continued during office hours in Moscow,” he writes.
“It dawned on the researchers that this wasn’t an attack, but a sustained relationship between a server registered to
the Trump organization and two servers registered to an entity called Alfa Bank.” Both the bank and the Trump
campaign deny any relationship or communication was going on, but there is plenty of smoke. When a New York
Times investigation turned up the supposed server connection, something curious happened:

The Trump organization shut down the server after Alfa was told that the Times might expose the connection.
Nicholas Weaver told me the Trump domain was “very sloppily removed.” Or as another of the researchers put it, it
looked like “the knee was hit in Moscow, the leg kicked in New York.”

Four days later, on September 27, the Trump organization created a new host name, trump1.contact-client.com,
which enabled communication to the very same server via a different route.

So, sure, this might amount to nothing untoward, but it comes in the context of the “efforts of Donald Trump’s former campaign
manager [Manafort] to bring Ukraine into Vladimir Putin’s orbit; the other Trump advisor whose communications with senior Russian officials
have worried intelligence officials [Carter Page]; the Russian hacking of the [Democratic National Committee] and John Podesta’s email.”
Clinton adviser Jake Sullivan put out a statement, which read in part:

This secret hotline may be the key to unlocking the mystery of Trump’s ties to Russia. It certainly seems the Trump
Organization felt it had something to hide, given that it apparently took steps to conceal the link when it was
discovered by journalists.

This line of communication may help explain Trump’s bizarre adoration of Vladimir Putin and endorsement of so
many pro-Kremlin positions throughout this campaign. It raises even more troubling questions in light of Russia’s
masterminding of hacking efforts that are clearly intended to hurt Hillary Clinton’s campaign. We can only assume
that federal authorities will now explore this direct connection between Trump and Russia as part of their existing
probe into Russia’s meddling in our elections.

To recap, we know that Clinton improperly set up a private server. We know that the Clinton foundation operated while she was secretary of
state, that the Clintons’ money-making endeavors got mixed with the foundation’s work and that Clinton met at various times with some
Clinton foundation donors (who included longtime allies, philanthropists and others one might expect to do business with the State
Department). There is no evidence of any quid pro quo. We’ve always known that the Clintons valued private interests, especially when it
involved money, more highly than they valued preventing the appearance of conflicts of interest or actual conflicts. She is known to be an
ethically challenged person. No one would go into her presidency blind, and congressional oversight would be essential.
With Trump, however, we know he has allowed himself to become Putin’s puppet. Maybe he is a “useful idiot” manipulated by aides with
deep Russian connections, maybe he has his own financial connections (which tax returns might or might not reveal) or maybe the
ignoramus billionaire simply is infatuated with authoritarians. We do not know, bluntly, how far the connection goes or where Trump’s
loyalties lie.
Given the choice between a knowledgeable, responsible candidate who has cut corners to secure wealth and power and a racist,
xenophobic, ignorant and erratic personality unable or unwilling to learn much of anything (someone who is, worst of all, a puppet of one of
America’s enemies), we have little doubt that Trump is the greater of two evils.
Won’t Clinton’s presidency be tied up in scandals and investigations? Perhaps, but then Republicans don’t have much to worry about her
pursuit of an aggressive agenda, especially if the GOP keeps majorities in one or more houses. The danger from Trump is not that he would
be a hobbled executive but that he would act on his authoritarian tendencies and pursue interests contrary to U.S. national security at the


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behest of a foreign enemy. Sorry, Clinton haters, but Trump beats her hands down when it comes to unfitness. That doesn’t mean that one
has to vote for her (for some it’s a bridge too far), but it does mean voting for him is unthinkable.


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